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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                  :     4:23-CR-0159-04
                                          :
                  v.                      :     (Chief Judge Brann)
                                          :
JOSHUA TAYLOR                             :     (Electronically Filed)

                                   ORDER



      AND NOW, this 5th day of July 2024, upon consideration of Defendant’s

Unopposed Motion Seeking Judicial Approval for Defendant to Travel, IT IS

HEREBY ORDERED that the motion is DENIED.




                                          BY THE COURT:



                                           s/ Matthew W. Brann
                                          ________________________
                                          Matthew W. Brann
                                          Chief United States District Judge
